UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

No. 1:23-cv-02330
CHARLES BOYD,
ECF case
Plaintiff,
PROPOSED STIPULATION
y EXTENDING TIME RULE 26(a)(1)
LAYER CAKE CREATIVE SERVICES, and 26(f) DISCLOSURES
LLC, et. al.,
Defendants.

August 25, 2023

Honorable Magistrate Judge Robert W. Lehrburger
United States District Court

Southern District of New York

500 Pearl St. ELECTRONICALLY FILED
New York, NY 10007-1312 DOC #:
BY: ECF DATE FILED: 8/29/2023

Dear Magistrate Judge Lehrburger:

We represent the parties in the above-captioned action. We write on behalf of all parties
respectfully to request a one-month extension of time, until 9/25 2023, for the parties to
exchange their Rule 26(a)(1) initial disclosures. Please note that mediation was Ordered by this
Court on July 21, 2023 (dkt. # 59) through the Mediation Program but has not yet been
scheduled. No prior request for an adjournment of these dates has been made by any party in
this case.

We appreciate Your Honor's time and attention to this matter. Please do not hesitate to contact
the undersigned if Your Honor has any questions or requires any further information.

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Respectfully,

/s/ Edward Carlson
Edward Carlson

Carlson & Ryan, LLP

43 West 43 Street STE 243
New York, N.Y. 10036

+1 (91) 714-0189
ed@carlsonryanlaw.com

Attorney for Plaintiff

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/s/ Michael R. Horenstein

Michael R. Horenstein

Law Office of Michael R. Horenstein
437 East 80" Street, Ste. No. 27

New York, New York 10075
Tel: 212-517-7340
Cell: 917-207-4280

michael.r.horenstein@gmail.com

Attorney for Defendants

Granted.

SO ORDERED:
8/25/2023 Je-—

HON. ROBERT W. LEHRBURGER
UNITED STATES MAGISTRATE JUDGE
